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                                     IN THE UNITED STATES DISTRICT COlJRT
                                                                                                    "~--:1   DEC -6 Pt1 I: 2 I
                                          FOR THE DISTRICT OF KANSAS
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  (Enter above the full name of the Plaintiff( s)                      )
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  VS.                                       dorni ;J,'t.klllJ          )   Case Number:      /3- ;){p2{o C.Y\11 / &L R
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                                 1
  City                  State             Zip Code                     )

  (Enter above the full name and address of the
  Defendant in this action - list the name and
  address of any additional defendants on the back
  side of this sheet).

                                                   CIVIL COMPLAINT

  L             Parties to this civil action:

                (In item A below, place your name in the first blank and place your present address in the


                                                                                     --
                second blank. Do the same for additional plaintiffs, if any, on the back side ofthis sheet).

               A.       Name of plaintiff       /YJ n,,r c_:__,    4           L,. -=.J,q- U".{) •U
                        Address      I I ~- a 0       l.J)        /3 G~    Y.i~ S-1-. /7-p ·f-        -2..1..--j>

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      (In item B below, write the full name of the defendant in the first blank In the second
      blank, write the official position of the defendant. Use item C for the names and positions
      of any additional defendants).

      B.       Defendant
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      c.                                          /l
              Additional Defendants _<...__..~;:;--L
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II.   Jurisdiction:

      (Complete one or more of the following subparagraphs, A., B.l, B.2., or B.3., whichever
      is applicable.)

      A.      (If Applicable) Diversity of citizenship and amount:

               1.     Plaintiff is a citizen of the State of              ;t IJ :rvJit,~
              2.      The first-named defendant above is either

                      a.          a citizen of the State of /(           ~ /1-.S          ; or



                      b.      a corporation incorporated under the laws of the State of
                      _ _ _ _ _ _ and having its principal place of business in a State other
                      than the State of which plaintiff is a citizen.

              3.      The second-named defendant above is either

                      a.         a citizen of the State of - - - - - -; or

                      b.      a corporation incorporated under the laws of the State of
                      _ _ _ _ _ _ and having its principal place of business in a State
                      other than the State of which plaintiff is a citizen.

              (If there are more than two defendants, set forth the foregoing information for

                                                         2
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                           each additional defendant on a separate page and attach it to this complaint.)

                           Plaintiff states that the matter in controversy exceeds, exclusive of interest and
                           costs, the sum of seventy-five thousand dollars ($75,000.00).

                 B.        (If applicable) Jurisdiction founded on grounds other than diversity (Check any
                           of the following which apply to this case).

                                       1.               This case arises under the following section of the Constitution of
                                                        the United States or statute ofthe United States (28 U.S.C. §1331):
                                                        Constitution, Article_ _ , Section_ _ ;
                                                        Statute, US Code, Title_ _ , Section_ _

                               "-l 2.                   This case arises because of violation of the civil or equal rights,
                                                        privileges, or immunities accorded to citizens of, or persons within
                                                        the jurisdiction of, the United States (28 U.S.C. §1343).

                                       3.               Other grounds (specify and state any statute which gives rise to
                                                        such grounds):




          III.   Statement of Claim:

                 (State here a short and plain statement of the claim showing that plaintiff is entitled to
                 relief. State what each defendant did that violated the right(s) of the plaintiff, including
                 dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
                 If you intend to allege more than one claim, number and set forth each claim in a separate
                 paragraph. Attach an additional sheet, if necessary, to set forth a short and plain
 4~ c>ll         statement of the claim[ s].)

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        IV.    Relief:                                                                                                                                              q.re_c<--,


               (State briefly exactly what judgement or relief you want from the Court. Do not make
               legal arguments.)

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        V.     Do you claim the wrorrs alleged in your complaint are continuing to occur at the present
               time? Yes [ ] No                 [f1-
        VL     Do you claim actual damages for the acts alleged in your complaint?                                                        Yes [ ]   No     [>(_
        VIL    Do you claim punitive monetary damages? Yes                                         X]   No [ ]

               If you answered yes, state the amounts claimed and the reasons you claim you are
               entitled to recover money damages.

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VIII.   Administrative Procedures:

        A.     Have the claims which you make in this civil action been presented thre~h any
               type of Administrative Procedure within any government agency? Yes ,D(] No [ ]

        B.     If you answered yes, give the date your claims were presented, how they
               were presented, and the result of that procedure:

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               c_ &.~            .e__,      ~~{)j.Q        d •                                                                         I

        c.     If you answered no, give the reasons, if any, why the claims made in this action
               have not been presented through Administrative Procedures:




IX      Related Litigation:

        Please mark the statement that pertains to this case:

                             This cause, or a substantially equivalent complaint, was previously filed in
                             this court as case number                    and assigned to the
                             Honorable Judge _ _ _ _ _ _ _ _ _ _ _ __

                             Neither this cause, nor a substantially equivalent complaint, previously
                             has been filed in this court, and therefore this case may be opened as an
                             original proceeding.




                                                                        YY1 A/L c~~ dffr~·~
                                                                        Signature of Plaintiff


                                                                        Name (Print or Type)



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                                               Address             .

                                               ({)/Jd /phcl       p;HIL ({C)          ~t,;HI
                                               City       State        Zip Code

                                               {FfJ~j Yu1              /cJ3c:fl
                                               Telephone Number


                              DESIGNATION OF PLACE OF TRIAL




trial in this matter.

                                                L/)n C:L/L L<.~ o(           &J/Y'-'--

                                               Signature of Plaintiff


                               REQUEST FOR TRIAL BY JURY




                                                (~f/lk)~/
                                                   /n~  .
                                               Signature of Plaintiff

Dated:   I   d._/(;     /13
(Rev. 8/07)




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